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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

THE NEW GEORGIA PROJECT, et al.,

      Plaintiffs,

v.                                             Civil Action File No.

BRAD RAFFENSPERGER, in his                     1:20-cv-01986-ELR
official capacity as the Georgia
Secretary of State and the Chair of the
Georgia State Election Board, et al.,

      Defendants.

                  STATE DEFENDANTS’ MOTION TO
             DISMISS PLAINTIFFS’ AMENDED COMPLAINT

       Defendants Brad Raffensperger, in his official capacity as Secretary of

 State and the Chair of the Georgia State Election Board (the “Secretary”),

 State Election Board Members Rebecca N. Sullivan, David J. Worley, Anh Le,

 and Matthew Mashburn (collectively, the “State Defendants”), by and

 through their undersigned counsel, file this Motion to Dismiss Plaintiffs’

 Amended Complaint. The Amended Complaint must be dismissed because

 Plaintiffs lack standing and their allegations fail to state any claim for relief.

 1.    Plaintiffs lack standing. Plaintiffs challenge five aspects of Georgia

 election law: (1) the statute governing incomplete absentee ballot request

 forms, O.C.G.A. § 21-2-384(b)(4) (the “Absentee Applicant Notification
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Statute”); (2) the statute allowing elderly, disabled, and Uniformed and

Overseas Citizens Absentee Voting Act (“UOCAVA”) voters to request

absentee ballots for an entire election cycle, O.C.G.A. § 21-2-381(a)(1)(G); (3)

the United States Postal Service’s (“USPS’s”) policy of requiring postage to

deliver mail (but not official election mail); (4) the statutory requirement that

absentee ballots be delivered to a county election official by 7:00 p.m. on

Election Day, O.C.G.A. § 21-2-386(a)(1)(F); and (5) Georgia’s statutory

prohibition on third party ballot harvesting (e.g., allowing third parties to

collect and return absentee ballots from voters), O.C.G.A. § 21-2-385(a) (the

“Absentee Ballot Security Statute”) (collectively, the “Challenged Policies”).

[Doc. 33, ¶¶ 130-38.]

      To satisfy constitutional standing requirements, each Plaintiff must

clearly show that each of the Challenged Policies causes them a cognizable

injury. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). Each plaintiff

must show that it is likely, not merely speculative, that a favorable judgment

will redress her injury.” Lewis v. Governor of Ala., 944 F.3d 1287, 1296 (11th

Cir. 2019) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)

(internal citations and punctuation omitted))

      The Amended Complaint satisfies neither the injury nor redressability

requirements. On injury, there is no allegation that the individual Plaintiffs:

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cannot vote without assistance; have had an absentee ballot request rejected;

cannot obtain stamps; cannot access a mail box to take advantage of USPS

policy to mail official election mail without sufficient postage; are precluded

from requesting an absentee ballot, voting with the absentee ballot, or curing

any deficiency in the absentee ballot process by voting in person. [See Doc.

33, ¶¶ 20-22.] No individual plaintiff alleges she is being deprived of the

right to vote.

      Plaintiff NGP’s claim of associational standing based on a diversion of

resources from its missions of registering and encouraging voters to vote to

its mission of registering and encouraging voters to vote falls short of

establishing a cognizable injury. [Id. at ¶¶ 17-19.] Spokeo, Inc., 136 S. Ct. at

1547; Lujan, 504 U.S. at 561; Jacobson v. Fla. Sec’y of State, No. 19-14552 at

21-22 (11th Cir. April 29, 2020); Ga. Republican Party v. SEC, 888 F.3d 1198,

1203 (11th Cir. 2018) (citation omitted). NGP has neither identified a single

member nor alleged any specific harm. For NGP, the 2020 election will be no

different than any other for the organization: it will seek to register voters

and encourage them to vote. [Doc. 33, ¶ 18.]

2.    Count I of Plaintiffs’ Amended Complaint does not state a claim for

relief. To survive a motion to dismiss, Plaintiffs must identify a burden that

the challenged law imposes on voting. Crawford v. Marion Cty. Election Bd.,

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553 U.S. 181, 205 (2008) (Scalia, J., concurring in judgment). None of the

Challenged Policies impose an unconstitutional burden on the Plaintiffs, and

to the extent they impose any burdens, sufficient state interests foreclose

Plaintiffs’ claims.

3.       None of Plaintiffs’ claims attacking Georgia’s Absentee Applicant

Notification Statute under the First and Fourteenth Amendments to the

Constitution and procedural due process and equal protection grounds state a

claim for relief. Plaintiffs have alleged no burden on themselves under

O.C.G.A. § 21-2-381(b)(4), however, but merely hypothesize a potential one

for unidentified third parties. Their claims can be dismissed on this point

alone.

         The lack of an as-applied injury renders Plaintiffs’ claim a facial

challenge, which requires them to “‘establish that no set of circumstances

exists under which the [law] would be valid.’” J.R. v. Hansen, 803 F. 3d 1315,

1320 (11th Cir. 2015) (Hansen II) (citation omitted); see also Wash. State

Grange v. Wash. State Republican Party, 552, U.S. 442, 449 (2008).

         The Absentee Applicant Notification Statute easily survives a facial

challenge. First, the law can be implemented in a constitutional manner

because a county election office could, conceivably, notify a voter of an issue




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in time for the voter to cure the problem. Worley v. Fla. Sec’y of State, 717

F.3d 1238, 1250 (11th Cir. 2013).

      Second, the statute provides sufficient protections. Counties are not “at

liberty to notify voters they are unable to process their absentee applications

at their leisure,” [Doc. 33, ¶41]; instead, they must do so “promptly.” O.C.G.A.

§ 21-2-384(b)(4).

      Third, “there is no fundamental right to vote by absentee ballot,”

Friedman v. Snipes, 345 F. Supp.2d 1356, 1370 (S.D. Fla. 2004) (citing

McDonald v. Bd. of Election Comm’rs of Chicago, 394 U.S. 802, 807 (1969)),

much less any fundamental right to request an absentee ballot. State

Defendants cannot unlawfully burden an illusory right. Cf. McDonald, 394

U.S. at 807-808 (applying Equal Protection analysis).

      Fourth, in the alternative, any purported burden caused by an absentee

ballot request is minute.

      Finally, any purported burden is “justified by relevant and legitimate

state interests.” Common Cause/Georgia v. Billups, 554 F.3d 1340, 1352

(11th Cir. 2009). The State has an interest in not only preventing fraud and

verifying the eligibility of voters, but also in permitting flexibility to county

election officials to do their jobs without unreasonable and unnecessary

interference or arbitrary deadlines.

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      Plaintiffs’ procedural due process claim also is a facial challenge to the

Absentee Applicant Notification Statute, because Plaintiffs fail to identify a

single voter to whom the challenged statute has been unconstitutionally

applied. Count IV should be dismissed because Plaintiffs cannot show that

the Absentee Applicant Notification Statute always deprives voters of a

“constitutionally-protected liberty interest or property interest,” and always

involves a “constitutionally inadequate process” to remedy that injury. Doe v.

Fla. Bar, 630 F.3d 1336, 1342 (11th Cir. 2011); see also Mathews v. Eldridge,

424 U.S. 319, 335 (1976).

      Again, Plaintiffs have no constitutional interest in voting absentee.

Zessar v. Helander, No. 05 C 1917, 2006 WL 642646, at *6 (N.D. Ill. Mar. 13,

2006) (citing McDonald, 394 U.S. at 807). In addition, under the Mathews

analysis, the risk of erroneous deprivation is not high, as Plaintiffs have not

shown a single instance of erroneous deprivation let alone a high risk of it.

Further, the statute provides procedures to minimize erroneous deprivation.

As Plaintiffs acknowledge, [Doc. 33, ¶ 39], under O.C.G.A. § 21-2-381(b)(4),

any individual whose identity is not confirmable from the application

information is given both notice and opportunity to cure the problem. Finally,

Plaintiffs fail to articulate any straightforward additional or substitute

procedural safeguards, which is fatal to their facial challenge.

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      Plaintiffs also assert that Georgia’s Absentee Applicant Notification

Statute violates the Equal Protection Clause of the Fourteenth Amendment.

[Doc. 33, ¶ 165]. Plaintiffs’ Equal Protection challenge is facial, and because

O.C.G.A. § 21-2-381 (b)(4) is facially neutral, Plaintiffs must allege facts

showing discriminatory intent. See Democratic Exec. Comm. of Fla. v. Lee,

915 F.3d 1312, 1319 n.9 (11th Cir. 2019) (citing Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977)). Plaintiffs fail to do so,

which warrants dismissal. Plaintiffs’ reliance on Bush v. Gore, 531 U.S. 98,

104–105, 109 (2000), which was expressly confined to its facts, is misplaced.

The instant case is not about counting votes but the methods by which a

voter may request an absentee ballot.

4.    With Counts I and II, Plaintiffs ask the Court to strike a state law

allowing some voters to make a single request for absentee ballots for each

election cycle under Anderson-Burdick and 26th Amendment theories.

      Plaintiffs assert that the State unconstitutionally burdens voters

because only those who are age 65 or older, disabled, or subject to UOCAVA

may submit a single request for an absentee ballot that covers all elections in

a cycle. The purported burden is not on the vote itself but instead on the

means of requesting an absentee ballot before Election Day. This is not

actionable. McDonald, 394 U.S. at 807-08.

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      The alleged harm of this policy is purely hypothetical. Plaintiffs

identified no one who has been denied the right to vote because of this law,

nor have they alleged that the two Individual Plaintiffs under age 65 are

incapable of making multiple requests. [Id., ¶¶ 21-22.]

      Even if the risks were a burden on voting, the challenged statute is

based on an important or compelling state interest. First, there is a strong

interest in helping the most vulnerable. Second, the risk of fraud is reduced

when unused absentee ballots are not floating throughout the State. See

Billups, 554 F.3d at 1352, (describing anti-fraud efforts as “relevant and

legitimate.”).

      Finally, a host of rational reasons support the law. For example,

younger people tend to move more frequently than older Americans, meaning

absentee ballots issued for an entire election cycle may be mailed to an

address where the voter no longer resides or receives mail. This alone is

sufficient to uphold the law.

      Count II alleges a violation of the 26th Amendment to the United

States Constitution. [Doc. 33, ¶¶ 139-46.] The only federal appellate court to

have addressed this issue squarely rejected Plaintiffs’ theory. See Texas

Democratic Party v. Abbott, No. 20-50407, 2020 WL 2982937 at *14 (5th Cir.

June 4, 2020). This Court should as well. By its terms, the 26th Amendment

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prohibits only those state laws that “den[y] or abridge[]” the right to vote.

The challenged statute does not “deny or abridge” anyone’s right or

opportunity to vote. See id. As discussed above and in the accompanying

brief, numerous rationales support the law.

5.     Plaintiffs identify no Georgia statute or policy that requires voters to

place a stamp on an absentee ballot request or absentee ballot envelope but

nevertheless raise Anderson-Burdick (Count I) and 24th Amendment (Count

III) claims to compel Georgia taxpayers to pay all postage associated with

absentee ballot requests and absentee ballots. [Doc. 33, ¶¶ 133-34, 147-50.]

       The clearest reason to dismiss Count III is that no state statute or

regulation raises revenue through absentee voting. A tax is imposed by a

government to raise money for itself. Postage is not a requirement imposed

by the State, nor does it flow to State coffers. Georgia does not require

payment of anything to request or return an absentee ballot, and nothing

flows to the State’s treasury. See O.C.G.A. §§ 21-2-216(a), 21-2-381, and 21-2-

385.

       Georgia’s policy does not burden Plaintiffs. The Individual Plaintiffs

have not alleged that they cannot obtain stamps. Thus, any burden they face

would be “incidental” and not actionable under federal law. See Ind.

Democratic Party v. Rokita, 458 F. Supp. 2d 775, 827 (S.D. Ind. 2006), aff’d

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sub nom. Crawford v. Marion Cty. Election Bd., 472 F.3d 949 (7th Cir. 2007),

aff’d, 553 U.S. 181 (2008) (quoting Burdick v. Takushi, 504 U.S. 428, 433

(1992)). Plaintiffs admit the “burden” of acquiring postage is a “practical”

one. [Doc. 33, ¶ 133.] Plaintiffs’ reliance on COVID-19 does not save their

facial claim. The Amended Complaint alleges that the virus may make it

difficult for some to vote in November, but such concerns are speculative and

do not show an injury. In addition, Plaintiffs have not alleged that they are

unable to take basic precautions such as wearing a mask and washing their

hands before and after voting.

      Plaintiffs cannot show their alleged harm (purchasing a stamp) is

caused by the State, which is fatal to their claims. The USPS, not the State of

Georgia, imposes postal fees, and only the USPS benefits from those fees. 39

U.S.C. §§ 3622(c)(2); 101(d); 404(b).

6.    Plaintiffs allege that requiring receipt of absentee ballots by the close of

polls on Election Day violates procedural due process (Count IV) and imposes

an unconstitutional burden (Count I). Both claims should be dismissed.

      Plaintiffs fail to show the deprivation of a constitutionally protected

interest because there is no federal constitutional right to vote by absentee

ballot. Plaintiffs also fail to establish a constitutionally inadequate process.

Here, the risk of erroneous deprivation is low, and Plaintiffs identify only

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speculative concerns. [Doc. 33, at ¶¶22, 50, 63, 70, 71, 109, 112.] Nor do

Plaintiffs articulate any meaningful additional procedural safeguards.

      Extending the deadline would impose a heavy burden on the State,

however, and frustrate the State’s strong interests in conducting an efficient

election. Green Party of Georgia v. Kemp, 106 F. Supp. 3d 1314, 1319 (N.D.

Ga. 2015). Timely certification of election results also promotes the

important state interest of certainty in elections. Broughton v. Douglas Cty.

Bd. of Elections, 286 Ga. 528, 528–29 (2010). Finally, requiring absentee

ballots to be delivered before unofficial results begin to be publicized cuts

down on the potential of voter fraud, which is an important state interest and

“eliminates the problem of missing, unclear, or even altered postmarks.” See

Nielsen v. DeSantis, 4:20cv236-RH-MJF (N.D. Fla. June 24, 2020).

      Just as there is not a fundamental right to vote by absentee ballot,

making certain that an absentee ballot is returned by election day is not a

burden on voting under Anderson-Burdick. Plaintiffs’ claim that they must

“accurately guess” when to mail their ballot for the county to receive it by the

close of the polls on Election Day is not actionable. [Doc. 33, ¶ 135.] “It is

reasonable to expect a voter, who is voting by absentee ballot, no matter the

reason, to familiarize themselves with the rules governing that procedure—

especially when those procedures are provided.” Thomas v. Andino, No. 3:20-

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cv-1552, 2020 WL 2617329, at *25 n.25. (D.S.C. May 25, 2020). Plaintiffs’

alleged injury that voting early deprives them of late-breaking information is

equally meritless. [Doc. 33, ¶ 136.] Voters choose to vote early and therefore

choose to vote with the information they have at the time. Third, Plaintiffs

claim that increases in mail absentee ballots coupled with “unreliable mail

service” caused by a budget crisis at USPS and COVID-19 will lead to delays

in mail delivery. [Id. at ¶ 112.] Neither of these factors are acts of the State.

Moreover, Plaintiffs’ requested relief is arbitrary. They do not maintain that

five additional business days will be sufficient to ensure absentee ballots are

timely returned, further warranting dismissal of this claim.

      Finally, the State has strong interests in the current deadlines.

Requiring absentee ballots to arrive by the close of the polls on Election Day

protects against fraud and allows county election officials to timely complete

the ballot-counting process before the certification deadline.

7.    Counts I and VI of Plaintiffs’ Amended Complaint seek to strike, as

facially unconstitutional, the Absentee Ballot Security Statute, which limits

the types of persons who may “mail[] or deliver[]” absentee ballots for voters.

O.C.G.A. § 21-2-385(a); [Doc. 33, ¶¶ 126-38, 167-72.] Count VII claims the

same statute violates the Voting Rights Act. [Id. at ¶¶ 173-80.] Each facial

challenge fails as a matter of law.

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      Georgia law does not require voters to personally mail or deliver their

absentee ballot to a county election office. O.C.G.A. § 21-2-395(a); Ga. Comp.

R. & Regs. r. 183-1-14-0.6-.14. Instead, any voter may also rely on an array of

family members or a roommate to deliver or mail the ballot. Id. Voters in

particular circumstances may also rely on “caregiver[s]” or employees of the

jail or detention center to deliver their ballots, regardless of whether such

person lives with the voter. Id. Further, voters confined to a hospital on

Election Day can have a registrar or absentee ballot clerk personally deliver

and return their absentee ballots. Id.

      None of the individual Plaintiffs allege that they are unable to vote

without assistance. [Doc. 33, ¶¶ 20-22.] NGP, however, seeks to (1) “collect[]

and deliver[] completed, signed, and sealed absentee ballots,” [id. at ¶ 19];

and (2) make sure that voters “prepared the ballot and envelope correctly.”

[Id. at ¶ 21.] Plaintiffs also allege that “over 64,000 Georgians” live alone and

do not have caregivers but fail to allege that those voters lack family

members or a nearby mailbox. [Id. at 39]. Plaintiffs also claim that “27.2% of

adults in Georgia who have a disability,” and that about “one-tenth” of

disabled people nationwide say they need assistance in voting. [Id. at ¶¶ 74-

75 (emphasis added).] But, Plaintiffs ignore (and do not challenge) O.C.G.A. §

21-2-385(b), which allows disabled voters to “receive assistance in preparing

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his or her ballot from any person of the elector’s choice.” These allegations

fail to state a claim under First Amendment and Anderson-Burdick theories.

      The Supreme Court rejected “the view that an apparently limitless

variety of conduct can be labeled ‘speech’ whenever the person engaging in

the conduct intends thereby to express an idea.” United States v. O’Brien,

391 U.S. 367, 375 (1968). By this standard, O.C.G.A. § 21-2-385(a) falls

outside of these recognized limitations because it does not regulate speech.

The statute only prohibits NGP from taking a ballot from a voter and deliver

or mail it, which does not involve speech or impinge on the right of anyone to

associate with NGP.

      Even if this Court decided that the physical act of delivering an

absentee ballot to a county election office or mailbox constitutes speech, that

speech is, at best, incidental. Consequently, the Absentee Ballot Security

Statute must be upheld if there is an “important governmental interest” to

justify the regulation. O’Brien, 391 U.S. at 376. There are numerous,

important reasons that justify the law, including protection against voter

fraud, promoting voter confidence, and the orderly administration of the

election process. See Burdick 504 U.S. at 433. And, recent examples of

absentee voter fraud prove that the Supreme Court was correct to distinguish

between pre-election speech and gathering completed ballots.

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      Plaintiffs have no burden. To the extent that any burden exists, it is

slight and insufficient to overcome important government interests, which is

fatal to Plaintiffs’ Anderson-Burdick claim (Count I).

      Plaintiffs’ Voting Rights Act (“VRA”) claim fails because Plaintiffs

overlooked Georgia law that is directly on point and consistent with the VRA.

Specifically, Plaintiffs allege that the restrictions on assisting voters with

their absentee ballots violates Section 208 of the Voting Rights Act of 1965,

52 U.S.C. § 10508. Georgia law expressly addresses this in the same statute

that Plaintiffs cite. O.C.G.A. § 21-2-385(b) provides that “[a] physically

disabled or illiterate elector may receive assistance in preparing his or her

ballot from any person of the elector's choice other than such elector's

employer or the agent of such employer or an officer or agent of such elector's

union . . . .” O.C.G.A. § 21-2-385(b). This addresses each of the criteria set

forth in section 208 of the VRA and shows that Plaintiffs’ Count VII must be

dismissed.

      In consideration of the foregoing, and as more fully set forth in the

attached memorandum, State Defendants respectfully ask the Court to

dismiss Plaintiffs’ Amended Complaint in its entirety, with prejudice, as to

State Defendants and grant State Defendants such other relief as the Court

deems just and proper.

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Respectfully submitted this 26th day of June, 2020.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

STATE DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ AMENDED

COMPLAINT was prepared double-spaced in 13-point Century Schoolbook

font, approved by the Court in Local Rule 5.1(C).

                               /s/Josh
                               Belinfante
                               Josh Belinfante
